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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                     Alexandria Division

  ROSY GIRON DE REYES; JOSE
  DAGOBERTO REYES; FELIX ALEXIS
  BOLANOS; RUTH RIVAS; YOVANA
  JALDIN SOLIS; ESTEBAN RUBEN MOYA
  YRAPURA; ROSA ELENA AMAYA; and
  HERBERT DAVID SARAVIA CRUZ,
                                                  Civil Action No. 1:16cv00563-TSE-TCB
                Plaintiffs,

          vs.

  WAPLES MOBILE HOME PARK LIMITED
  PARTNERSHIP; WAPLES PROJECT
  LIMITED PARTNERSHIP; and A.J.
  DWOSKIN & ASSOCIATES, INC.,

                Defendants.


                                   [PROPOSED] ORDER
          Upon consideration of the Consent Motion to Withdraw Mary Joy Odom as Counsel For

 Plaintiffs, it is hereby ordered that the Motion is GRANTED and that Mary Joy Odom is hereby

 granted leave to withdraw as counsel for Plaintiffs Rosy Giron De Reyes, Jose Dagoberto Reyes,

 Felix Alexis Bolanos, Ruth Rivas, Yovana Jaldin Solis, Esteban Moya Yrapura, Rosa Elena

 Amaya, and Herbert David Saravia Cruz.



 Dated:
                                          Theresa Carroll Buchanan
                                          United States Magistrate Judge
